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                            Exhibit 5
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                           OFFICE OF THE ATTORNEY GENERAL
                                               STATE OF ILLINOIS

KWAME RAOUL
ATTORNEY GENERAL
                                                   October 6, 2023

SENT VIA EMAIL & SHAREPOINT

City of Chicago Law Department
c/o Jennifer Bagby
121 North LaSalle Street, Suite 600
Chicago, Illinois 60602
E-mail: Jennifer.Bagby@CityofChicago.org

Re:        S03-14, Body-Worn Cameras – OAG Conditional No Objection
           Consent Decree, Illinois v. Chicago, 17-cv-6260 (N.D. Ill.)

Dear Ms. Bagby,

On June 15, 2023, under Paragraph 627 of the Consent Decree, the Chicago Police Department
(CPD) submitted to the Office of the Illinois Attorney General (OAG) directive S03-14, Body
Worn Cameras [MONITOR00299361–299385]. CPD submitted these materials toward
compliance with Paragraphs 236–41 of the Consent Decree.1

On September 12, 2023, the OAG, Independent Monitoring Team (IMT), CPD, and the City met
to discuss the OAG and IMT’s objections to the Body Worn Camera policy. The OAG thanks the
CPD and the City for its candid and thoughtful contributions to that discussion. Unfortunately, that
meeting did not resolve the OAG’s concerns regarding the policy, especially regarding the policy’s
requirement that officers involved in a shooting turn off their body cameras when responding to
questions during a public safety investigation.




1
 CPD initially submitted this directive for review by OAG and the Independent Monitoring Team (IMT) on April
28, 2021. The IMT provided comments on May 28, 2021, and the OAG provided comments on May 26, 2021. CPD
resubmitted this directive on May 19, 2022; the IMT provided comments on August 22, 2022, and the OAG
provided comments on June 16, 2022. The CPD resubmitted this directive on November 17, 2022, and the IMT
provided comments on December 31, 2022. The OAG provided comments on December 9, 2022.
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Given that the OAG’s primary objection is limited to Section V.B.2 of the policy, there is merit in
an approach that allows the CPD to implement the policy and allows the parties’ disagreements to
be resolved at a later date. Accordingly, the OAG provides this no-objection notice, conditioned
on the parties bringing their disagreements before Judge Pallmeyer for judicial resolution at the
November 16, 2023 status hearing.




                                                     Respectfully,

                                                     KWAME RAOUL
                                                     Attorney General of the State of Illinois

                                                     By: /s/ Samuel Kennedy
                                                     Assistant Attorney General
                                                     Civil Rights Bureau
                                                     100 West Randolph Street, 11th Floor
                                                     Chicago, Illinois 60601
                                                     Phone: (773) 758-4572
                                                     E-mail: Samuel.Kennedy@ilag.gov


cc: Maggie Hickey, Rodney Monroe, Paul Evans, Independent Monitoring Team
